Case 1:03-md-01570-GBD-SN Document 247 File

 

   
 
 

poct}MERT

ELECTRONICALLY PILED
DOC #:
DATE FILED: Go- ib C

a ee ede

 

United States District Court
Southern District of New York

 

 

 

 

 

 

03 MDL 1570 (RCC)
ECF Case

In re Terrorist Attacks on September 11, 2001
Case Management Order #2

 

 

 

This document relates to: All actions
Richard Conway Casey, United States District Court Judge:
If this Court so directs, Plaintiffs consent to proceed before a United States Magistrate for
pre-trial purposes, pursuant to 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.
Yes xX No

Counsel for the partics have discussed the merits of settlement in regard to this action and
wish to request a settlement conference before a United States Magistrate.

Yes No x

Counsel for the parties have discussed the merits of mediation in regard to this action and
wish to employ the mediation services provided by this Court.

Yes No x

Consolidation

1, The actions listed in Schedule A have been transferred to this Court
pursuant to 28 U.S.C. § 1407 for coordinated or consolidated pretrial purposes by the
Judicial Panel on Multidistrict Litigation. All such actions are hereby consolidated for
pretrial purposes pursuant to the provisions of Rule 42 of the Federal Rules of Civil
Procedure under the docket number MDL 1570 (the “Consolidated Action”). All
references to consolidation in this Order shall refer to consolidation for pretrial purposes

pursuant to 28 U.S.C. § 1407. This Order does not constitute a determination that the
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 2 of 39

Individual Actions should be consolidated for trial, nor does it have the effect of making
any entity a party to an action in which it has not been joined and served in accordance
with the Federal Rules of Civil Procedure.

2. Additional actions transferred and consolidated with MDL 1570 as “tag-
along actions” pursuant to Rules 7.4 and 7.5 of the Rules of Procedure of the Judicial
Panel on Multi-District Litigation or designated as “related actions” under the Local
Rules of the Southern District of New York (together, “Related Cases”) shall be subject
to the provisions of this Order.

3, A Master File, and a Master Docket for that file, are hereby established for
these consolidated proceedings. The original of this Order shall be filed by the Clerk in
the Master File. The Clerk of the Court shall file all orders, pleadings, motions, and
other documents bearing the Docket Number MDL 1570 in the Master File and shall note
such filing in the Master Docket. No further copies need be filed or docket entries made,
except as provided in Paragraph 5.

4. The Clerk has assigned, or shall assign, a separate docket number (an
"S.D.N.Y. Docket Number") and shall maintain a separate file for each of the actions on
Schedule A and each Related Case (the “Individual Actions”). A copy of this Order shall
be placed in each such separate file. No further filings need be made in the separate files,
except as provided in Paragraph 5. All orders, pleadings, motions, and other documents
filed in the Master File will be deemed filed and entered in each individual action to the
extent applicable. The Clerk shall ensure that this Order is docketed electronically and

distributed through the Electronic Case Filing system.
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 3 of 39

5. Documents intended to apply only to a particular Individual Action or
Actions will, as described in Paragraph 6 below, indicate in their caption the S.D.NLY.
Docket Number(s) of the Individual Action(s) to which they apply. Such documents will
be filed and docketed both in the Master File and the separate file(s) for the specified
Individual Action(s), in accordance with the Electronic Case Filing system procedures
established by the Clerk’s Office.

Captions

6, Every paper filed in the Consolidated Action shall have the following

caption:

United States District Court
Southern District of New York

 

 

 

 

03 MDL 1570 (RCC)
ECF Case
| In re Terrorist Attacks on September 11, 2001
L
This document relates to: All actions
7. When a paper is intended to be applicable to all of the Individual Actions,

the words “All Actions” shall appear after the words “This Document Relates To:” in the
caption set forth above and only the Master Docket number will be identified.

8. When a paper is intended to be applicable to some, but not all, of the
Individual Actions, the 8.D.N.Y. Docket Number for each Individual Action to which the
paper applies and the full names of the first plaintiff and first defendant in that action
shall appear immediately after the words “This Document Relates To:” in the caption set

forth above.
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 4 of 39

Filings and Service of Papers

9, Pursuant to paragraph 1 of this Court’s Case Management Order No. 1, all
attorneys who have made appearances in this case must register with the Court’s
CM/ECF system. Counsel may not opt out of email service for non-court documents.
All written communication with the Court of any type or kind whatsoever shall be served
on all counsel of record in all the Individual Actions, regardless of which or how many
Individual Actions such communication relates to. Service shall be accomplished as
follows:

(a) For all documents filed through the ECF system, service shall be deemed
complete upon electronic filing through the ECF system and no further service need be
made. If at least one member of a law firm representing a party has registered for
electronic service through the ECF system, a party filing a document in the ECF system
need not serve by mail or other means other attorneys in the same firm, even if the other
attorneys’ names appear as not having been served electronically through the ECF

system.

(b) For documents that are not filed through the ECF system but that nonetheless
are required to be served, service shall be by e-mail and shall be necessary only upon
those attorneys listed with e-mail contact information in Schedule B. Attorneys who
subsequently consent to be served by e-mail shall so notify the Court in writing and

provide e-mail contact information to Kreindler & Kreindler.

10. Where voluminous documents that are required to be filed through the
ECF format do not exist in electronic format and it would be burdensome to convert

them, hard copies may be served by hand, by express courier service, or by mail. Service
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 5 of 39

of hard copies shall be deemed complete upon hand-delivery or upon delivery to the
United States Postal Service or an express courier service.

11. Service Cut-Off Date: Service of the summons and complaint on a
defendant not located in a foreign country shall be made in accordance with Federal Rule
of Civil Procedure 4(m). Service of the summons and complaint upon a defendant Jocated
in a foreign country who has been named as of the date of this order shall be made by
October 15, 2004, or, if a motion to effect service through alternative means has been
filed with respect to that defendant, service shall be made within 90 days of a decision by
this Court on the motion. Any defendant located in a foreign country who is named after
the date of this order shall be served within 120 days after being so named, or, if a
motion for alternative service is filed in connection with that defendant, within 90 days of
a decision on such a motion. A motion for alternative service shall! be filed within 60
days of the date on which the defendant has been named. The Court, upon motion or on
its own initiative after notice to the plaintiffs, may dismiss the action without prejudice as
to any defendant who has not been served or, provided that the plaintiffs show good
cause for the failure to serve, the Court may extend the time for service for an appropriate

period.
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 6 of 39

Pleadings and Parties

12. Addition of Parties: Joinder of additional parties must be accomplished by
December 31, 2004. Plaintiffs may without further leave of court add or remove parties
by listing their names and filing the lists as supplemental pleadings under F.R.C.P. 15(d).
The caption in the docket for the Individual Action to which a plaintiff or defendant has
been added or removed will be changed to reflect the names of the parties in the
Individual Actions as amended by the filing. Plaintiffs added by this procedure need not
re-serve defendants who have already been served. Any defendant added by this
procedure may, in lieu of any other answer or response to the complaint, and within the
same time period allowed for such other answer or response, request, by motion or
otherwise, a more definite statement pursuant to F.R.C.P. 12(e). Such request for a more
definite statement shall not operate as a waiver of any defenses or objections, including
objections based on lack of jurisdiction or improper service. When a defendant as to
whom no allegations have been asserted requests a more definite statement pursuant to
the procedures sct forth herein, plaintiffs shall file the requested statement within 30
days. Rule 12(e) statements filed pursuant to this procedure may be filed as an
independent pleading and no Amended Complaint need be filed. The filing of such a
more definite statement will be deemed an amendment to plaintiffs’ Complaint or
Amended Complaint, by incorporation by reference. When a defendant requests a more
definite statement pursuant to this procedure, the time for such defendant to answer,
move, or otherwise respond to the Complaint shall run from service of the statement so

requested.
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 7 of 39

13. Amendments: Amended pleadings may be filed until July 31, 2005, after
which any amendments must be approved by the Court, pursuant to Federal Rule of
Civile Procedure 15{a). Plaintiffs may file more definite statements and/or additional
allegations against existing defendants by filing statements to this effect, which will be
treated and accepted as pleadings and deemed amendments to previously-filed
Complaints or Amended Complaints, in lieu of filing an additional Amended Complaint.
On July 31, 2005, the plaintiffs shail file an amended complaint that includes all

amendments made prior to that date, whether made pursuant to Rule 12(e) or otherwise.

14. RICO Statements: As to all defendants on behalf of whom counsel have
entered an appearance in the Federal Insurance action as of the date of this Order, the
Federal Insurance plaintiffs shall file a RICO Statement, in the form set forth in this

Court's “Instructions for filing RICO Statement,” available on the Internet at:

www.nysd.uscourts.gov/judges/usdj/casey htm

within thirty (30) days of the date of this Order. As to all other defendants named in the
Federal Insurance action, the Federal Insurance plaintiffs shall file a RICO Statement
within thirty (30) days of the filing of an entry of appearance by counsel on behalf of any
such defendant in the Federal Insurance action. Any such RICO Statement shall be
deemed an amendment to the Federal Insurance plaintiffs’ Complaint or Amended

Complaint, by incorporation by reference.

Discovery
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 8 of 39

15. All discovery responses already served by defendants in the Burnett action
shall be deemed part of the Consolidated Action. Discovery requests already served in
the Burnett action to which responses have not yet been served need not be re-served,
except that copies of all such requests shall be provided to the Plaintiffs’ Executive
Committec(s) and to counsel for any party to whom such requests pertain if such counsel

has not already been served.

16. Any party may seek the assistance of the Court in obtaining documents from
non-party foreign governments or officials through a “letters rogatory” process or
otherwise. Any party seeking such assistance shall notify all other parties and al! parties
together shail submit an agreed form of requests to be sent to the foreign government or
official. To the cxtent that any party sends a representative to personally retrieve
documents provided in response to a request from this Court to a foreign government or
official, plaintiffs (collectively) and defendants (collectively) shall be entitled to send the
same number of representatives. All documents so retrieved shall be deposited with the
Court and shall be made available to all parties. The parties shall make such application

to this Court as may be necessary to effectuate this provision.

17. Fact Discovery: Written discovery and depositions addressed to non-
parties and to or from any defendant that has filed an Answer in any of the Individual
Actions as to liability issues only may commence immediately. As to any defendant that
has filed a motion to dismiss on grounds of immunity from suit (based on the Foreign
Sovereign Immunities Act or diplomatic immunity) or for lack of personal! jurisdiction,
merits discovery shall not take place until such jurisdictional motion has been resolved

by this Court, except upon application to the Court based on extenuating circumstances.
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 9 of 39

Depositions may proceed concurrently with written discovery. No depositions shall be
extended beyond two business days without prior leave of the Court. A party may take a
deposition by videotape by so indicating in its Notice of Deposition or by providing
written notice that the deposition will be videotaped no less than 10 days before the
deposition. Objections to the videotaping of a deposition must be filed and served within
5 days after notice of videotaping is served. Unless the Court has ruled to the contrary
prior to the deposition, the deposition may be videotaped. Fact discovery shall be
completed by December 31, 2005.

18. Expert discovery: Experts are to be designated and their expert reports
exchanged by February 15, 2006. Expert depositions shall commence after February 15,

2006 and shall be completed by April 15, 2006.

19. All liability discovery is to be completed by April 15, 2006.

20. To the extent possible, the parties shall conduct consolidated discovery and
all discovery notices served and all responses to all discovery requests in an Individual
Action shall be deemed to be part of the Consolidated Action and each Individual Action.

21. Interim deadlines may be extended by the parties on consent without
application to the Court, provided the parties are certain they can still meet the discovery
completion date ordered by the Court, which shall not be adjourned except upon approval
by the Court.

22. Document Translation: A party producing documents in a language other than
English shall produce existing translations of those documents; however, translations

produced by or for a party’s attorney necd not be produced.
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 10 of 39

Dispositive Motions

23. All motions and applications shall be governed by the Court's Individual
Rules of Practice.

24, A pre-motion conference will be required before any dispositive motion Is
filed, except motions to dismiss. The Court will confirm the parties’ bnefing schedule at
the pre-motion conference. After the papers are fully submitted, the parties will be
informed whether oral arguments are required. With respect to motions to dismiss, the
Defendants (or the parties, to the extent they agree) will submit a proposed briefing and
oral argument schedule to the Court in advance of the next Case Management
Conference.

25. With respect to motions to dismiss, the parties shall submit to the Court an
agreed-upon, proposed briefing schedule.

26, With respect to motions to dismiss in the Federal Insurance matter,
defendants who have been served on or before March 10, 2004 shall file their motions to
dismiss in accordance with any stipulations approved by the Court or such other schedule
as the Court may order; opposing papers shall be filed within 60 days of the filing of any
such papers and reply papers shall be filed within 14 days after receipt of opposing
papers.

27. No summary judgment motion will be heard before the close of discovery.

Admission of Attorneys and Admissions

10
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 11 of 39

28. In accordance with Rule 1.4 of the Rules Procedure of the Judicial Panel on
Multidistrict Litigation, any attorney of record in any of the Individual Actions may
continue to represent his or her client in this Court in this action. Such attorneys shall be
deemed admitted pro hac vice for purposes of the Consolidated Action and need not
obtain local counsel.

Case Management Conferences

29. The next Case Management Conference shall take place on September 13,
2004. Plaintiffs’ Liaison Counsel and defendants’ counsel shall confer at least five (5)
business days in advance of each scheduled Case Management Conference for the
purpose of attempting to narrow and agree upon issues to be discussed at the conference
and for the further purpose of preparing and submitting to the Court an agreed-upon Case
Management Conference agenda, including a schedule of motions that are ready to be
heard. Such agenda shall be submitted to the Court at least three (3) business days in
advance of the Case Management conference and, to the extent reasonable, the parties
shall be limited to discussion of the matters on the agenda. To the extent that the parties
are unable to agree upon a joint agenda, separate proposed agendas may be submitted.

So Ordered.

Richard Conway Casey, U.S.D.J.

 

June , 2004
New York, New York

1]
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 12 of 39

Schedule A — Individual Actions Consolidated in MDL 1570

THOMAS BURNETT, SR., et al.,
Plaintiffs,
Civ, Action No. 03 CV 9849 (RCC)

- against -

AL BARAKA INVESTMENT &
DEVELOPMENT CORP., ct al.,

Defendants.

KATHLEEN ASHTON, et al., Civ. Action No, 02 CV 6977 (RCC)

Plaintiffs,

- agains{ —

AL QAEDA ISLAMIC ARMY, et al.,

Defendants.

FIONA HAVLISH, et al.,

Plaintiffs,

Ciy. Action No, 03 CV 9848 (RCC)

- against —

SHEIKH USAMA BIN-LADEN, et al.,

12
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 13 of 39

Defendants.
wee ewe ee ee ee ee ee eee eee ee eee a ee ee ee ee eee xX
WALTER TREMSKY, et al.
Plaintiffs,
- against —
OSAMA BIN LADEN, et al.,
Defendants.
we ea ee er a ee x
eee a ee ee nn nn nn ne ee ee ee xX
GLADYS SALVO, et al.
Plaintiffs,
- against —
AL QAEDA ISLAMIC ARMY, et al.,
Defendants.
on =n nse n-ne $= =e $3 eo e x

JOHN P. O'NEILL, JR., et al,

Plaintiffs,

- against —

THE REPUBLIC OF IRAQ, et al.,

Defendants.

13

Civ. Action No. 02 CV 7300 (RCC)

Civ. Action No, 03 CV 5071 (RCC)

Civ, Action No. 03 CV 1076 (RCC)
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 14 of 39

ESTATE OF JOHN P. O’NEILL, SR.

Plaintiffs,
Civ. Action No, 03 CV 1923

- against —

AL BARAKA INVESTMENT &
DEVELOPMENT CORP., ct al.

Defendants.
ESTATE OF JOHN P. O’NEILL, SR.
Plaintiffs,
Civ. Action No. 03 CV 1922
- against —

KINGDOM OF SAUDI ARABIA et al

Defendants.

FEDERAL INSURANCE CO., ct al.
Plaintiffs
Civ. Action No. 03 CV 6978 (RCC)
__ against -

AL QAIDA

Defendants.
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 15 of 39

THOMAS BURNETT, Sr.et al.

Plaintiffs,
Civ. Action No. 03 CV 5738

- against

AL BARAKA INVESTMENT &
DEVELOPMENT CORP., et al.

Defendants.
we ee ee er a ee i a ee xX
BARRERA et al.

Plaintiffs,

Civ. Action No, 03 CV 7036

- against -
AL QAEDA ISLAMIC ARMY et al.

Defendants.
ee we a ne ee a a a a a a a ee ee x

15
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 16 of 39

Schedule B: Attorneys to be served electronically

16
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 17 of 39

Plaintiffs’ Counsel (tune 15, 2004)

03 MDL 1570 SERVICE LIST

in re: Terrorist Attack on September 11, 2001, 03 MD 1570 (Judge Richard Casey),
U.S. District Court for the Southern District of New York

 

Plaintiffs’ Counsel

Underlving Case Name

 

ALLAN GERSON, ESQUIRE
422] Lenore Lane, N.W.
Washington, DC 20008
Tel: (202) 966-8557

Fax: (202) 966-8557
gerson@égilgintl.org

Burnett, et al. v. Al Baraka Investment and
Development Corp., et al.

 

BARASCH McGARRY SALZMAN PENSON &
LIM

11 Park Place

New York, NY 10007

Tel: (212) 385-8000

Fax: (212) 385-7845

Michael Barasch, Esquire
michael(@personalinjuryjustice.com

Ashton, et al. y. Al Qaeda, et al.

 

BARTIMUS, FRICKLETON, ROBERTSON &
OBETZ

200 Madison Avenue, Suite 1000

Jefferson City, MO 65101

Tel: (573) 659-4454

Fax: (573) 659-4460

Edward D. Robertson, Esquire
chiprobé#earthlink.net

Mary Winter, Esquire
marywinter@earthlink net

Burnett, et al. v. Al Baraka [nvestment and
Development Corp., et al.

 

 

BAUMEISTER & SAMUELS, PC
One Exchange Place, 15" Floor
New York, NY 10006-3008

Tel: (212) 363-1200

Fax: (212) 363-1346

Michel F, Baumeister, Esquire
mbaumeister@baumeisterlaw.com

Thea M. Capone, Esquire
tcapone@baumeisterlaw.com

Douglas A. Latto, Esquire
dlattof@baumeisterlaw.com

03 MDI. 1570 SERVICE LIST (6/15/2004)

 

Ashton, et al. v. Al Qaeda, et al.

 
Case 1:03-md-01570-GBD-SN

BRODER & REITER

350 Fifth Avenue, Suite 2811
New York, NY 10118

Tel: (2125 244-2000

Fax: (212} 268-5297

Aaron J, Broder, Esquire
Jonathan C, Reiter, Esquire

info@broderrciter.com

Document 247 Filed 06/16/04 Page 18 of 39

Ashton, et al. v. Al Qaeda, et al.

 

BROWN, TERRELL, HOGAN,

ELLIS, MeCLAMMA, YEGELWEL PA
&th Floor - Blackstone Building

233 East Bay St.

Jacksonville, FL 32202

Evan J. Yegelwel, Esquire
ejy@bthemy.com

D'Vorah Ben-Moshe
dbm@bthemy.com

Havylish, et al. v. Bin Laden, et al.

 

BURBIDGE and MITCHELL
139 East South Temple, Suite 2001
Salt Lake Cry, UT 84111

Tel: (801) 355-6677

Fax: (801) 355-234]

D. Richard Burbidge, Esquire
tburbidge@burbidgeandmitchell.com

Havlish, et al. v. Bin Laden, et al.

 

 

CORDRAY LAW FIRM
40 Calhoun Street, Suite 420
Post Office Drawer 22857
Charleston, SC 29413-2857
Tel: (843) 577-9761

Fax: (843) 853-6330

Jack D. Cordray, Esquire
jack@cordraylawfirm.com

Burnett, et al. v, Al Baraka Investment and
Development Corp., et al.

 

 

03 MDL 1570 SERVICE LIST (6/15/2004)

 
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 19 of 39

COZEN O’CONNOR
1900 Market Street
Philadelphia, PA 19103
Tel: (215) 665-2000
Fax: (215) 665-2013

Stephen A. Cozen, Esquire
Elliott R. Feldman, Esquire
Sean P. Carter, Esquire
Mark T. Mullen, Esquire
Lisa Haas, Esquire

J. Scott Tarbutton, Esquire.

MDL1570@cozen.com

Federal Insurance Co., et al. v. Al Qaida, et al.

 

DAVIS, SAPERSTEIN & SALOMON, P.C.
375 Cedar Lane

Teaneck, NJ 07666

Tel: (201) 907-5000

Fax: (201) 692-0444

Samucl L. Davis, Esquire
sam@dsslaw.com

Burnett, et al. v, Al Baraka Investment and
Development Corp., et al.

 

EPSTEIN BECKER & GREEN, P.C.
250 Park Avenue

New York, NY 10177-1211

Tel: (212) 351-4500

Fax: (212) 661-0989

Clare M. Sproule, Esquire
esproule@ebglaw.com

Burnett, et al. vy. Al Baraka Investment and
Development Corp., et al.

 

GAIR, GATR, CONASON, STEIGMAN &
MACKAUF

80 Pine Street

New York, NY 10005

Tel: (212) 943-1090

Fax: (212) 425-7513

Robert Conason, Esquire
reonason@egairgair.com

Howard Hershenhorn, Esquire
hsh@gairgair.com

Burnett, et al. v. Al Baraka Investment and
Development Corp.., et al.

 

 

GALIHER, DeROBERTIS, NAKAMURA, ONO &
TAKITANI

610 Ward Avenue, Suite 200

Honolulu, HI 96814

Tel: (808) 597-1400

Fax: (808) 591-2608

Gary O. Galiher, Esquire
goe@govaliher.com

 

Burnett, et al. v, Al Baraka Investment and
Development Corp., et al.

 

03 MDL 1570 SERVICE LIST (6/15/2004)

 
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 20 of 39

HANLY CONROY BIERSTEIN & SHERIDAN LLP

414 Madison Avenue
New York, NY 10017
Tel: (212) 401-7600
Fax: (212) 401-7618

Andrea Bierstein, Esquire
ablerstein@hanlyconroy.com

Mary Palmer, Paralegal
mpalmer@hanlyconroy.com

Burnett, et al. vy. Al Baraka Investment and
Development Corp., et al.

 

HOWARTH & SMITH

800 Wilshire Boulevard, Suite 750
Los Angeles, CA 90017

Tel: (213) 955-9406

Fax: (213) 622-0791

Robert D. Brain, Esquire
Don Howarth, Esquire
Suzelle M. Smith, Esquire

MDL1570@howarth-smith.com

Burnett, et al. v. Al Baraka Investment and
Development Corp., et al.

Havlish, et al. vy. Bin Laden, et al.

 

THE HUGE LAW FIRM PELC
7" Floor

1001 Pennsylvania Avenue, NW
Washington, DC 20004

Tel: (843) 722-1628

Fax: (202) 318-1261

Harry Huge, Esquire
harryhuge@comceast_net

Burnett, et al. v. Al Baraka Investment and
Development Corp., et al.

 

J. DAVID O'BRIEN, ESQUIRE
20 Vesey Street, Suite 700
New York, NY 10007

Tel: (212) 571-6111

Fax: (212) 571-6166

obrienlawusa(eaol. com

Tremsky, et al. v. Osama Bin Laden, et al.

 

 

JAROSLAWICZ. & JAROS, ESQUIRES
150 Wilham Street

New York, NY 10038

Tel: (212) 227-2780

Fax: (212) 227-5090

David Jaroslawicz, Esquire
davidjaroslawicz@yahoo.com

 

Ashton, et al. v. Al Qaeda, et al.

 

03 MBL 1370 SERVICE LIST (6/15/2004)

 
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 21 of 39

JUDICIAL WATCH, INC.

501 Schoo} Street, SW, Suite 725
Washington, DC 20024

Tel: (202) 646-5175

Fax; (202) 646-5199

Paul J. Orfanedes, Esquire
James F. Peterson, Esquire

jpeterson@judicialwatch.org

Burnett vy. Al Baraka Inv, and Dev. Corp., et al.

 

KREINDLER & KREINDLER
100 Park Avenue

New York, NY 10017

Tel: (212) 687-8181

Fax: (212) 972-9432

Justin T. Green, Esquire
jgreen@kreindler.com

James P. Kreindler, Esquire
jkreindler@@kreindler.com

Andrew J. Maloney, II, Esquire
amaloney(@kreindler.com

Mare 8. Moller, Esquire
mmoller@kreindler.com

Vince Parrett, Esquire
vparrett@kreindler.com

Steven Habig
shabig@kreindler.com

Ashton, et al. vy. Al Qaeda, et al.

 

 

LAMM, RUBENSTONE, TOTARO & DAVID, LLC
4 Greenwood Square, Suite 200

P.O, Box 8544

Bensalem, PA 19020-8544

Tel: (215) 638-9330

Fax: (215) 638-2867

Edward H. Rubenstone, Esquire
erubenstone@lrtd.com

 

Havlish, ct al. v. Bin Laden, et al.

 

03 MDL 1570 SERVICE LIST (6/15/2004)

 
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 22 of 39

LAW OFFICES OF JERRY S. GOLDMAN AND
ASSOCIATES, P.C.

111 Broadway, 13" Floor

New York, NY 10006

Tel: (212) 385-1005

Fax: (212) 346-4665

Jerry 8. Goldman, Esquire
jgoldman(@goldmanlawyers.com

Gina Mac Neill, Esquire
GMacNeill@goldmanlawyers.com

Estate of John P. O'Neill, Sr., et al v. Kingdom of
Saudi Arabia, et al.

 

LAW OFFICES OF JOSHUA M. AMBUSH, LLC
600 Reistertown Road

Suite 200 A

Baltimore, MD 21208

Tel: (410) 484-2070

Fax: (410) 484-9330

Joshua M. Ambush, Esquire
joshua@ambushlaw.com

Helen Loutse Hunter, Esquire
hish@aol.com

Estate of John P. O'Neill, Sr., et al v. Kingdom of
Saudi Arabia, et al.

 

LEE LEE & LEE
422 5. Gay Street
Knoxville, TN 37902
Tel: (865) 544-0101
Fax: (865) 544-0536

J.D. Lee, Esquire
jdlee@ydlee.com

David Lee, Esquire
davidl(@lancairsouth.com

Burnett, et al. v. A] Baraka Investment and
Development Corp., et al.

Havlish, et al. v. Bin Laden, et al.

 

 

MELLON WEBSTER & SHELLY
87 North Broad Street

Doylestown, PA 18901

Tel: (215) 348-7700

Fax: (215) 348-0171

Thomas E. Mellon, Jr., Esquire
tmellongimellonwebster.com

Stephen Corr, Esquire
scorrmemellonwebster.com

Jack Corr, Esquire
jeorr@mellonwebster.com

 

Havlish, et al. v. Bin Laden, et al

Burnett, et al. v. Al Baraka Investment and
Development Corp., et al.

 

03 MDL 1570 SERVICE LIST (6/15/2004)

 
Case 1:03-md-01570-GBD-SN

MOTLEY RICE LLC

28 Bridgeside Boulevard
P.O. Box 1792

Mount Pleasant, SC 29465
Tel: (843) 216-9000

Fax: (843) 216-9450

Ronald L. Motley, Esquire

Jodi Westbrook Flowers, Esquire
Donald A. Migliori, Esquire
Jeffrey S. Thompson, Esquire
William Narwold, Esquite
Michael E. Elsner, Esquire
Ingrid Moll, Esquire

Justin Kaplan, Esquire

MDL1570@emotleyrice.com

Document 247 Filed 06/16/04 Page 23 of 39

Burnett, et al. v. Al Baraka Investment and
Development Corp., et al.

Havlish, et al. v. Bin Laden, et al.

 

PROF. PAUL R. DUBINSKY
New York Law School

7 Worth Street

New York, NY 10013

Tel: (212) 431-2157

Fax: (212) 431-1830

Paul R. Dubinsky
pdubinsky@nyls.edu

Estate of John P. O'Neill, Sr., et al v. Kingdom of
Saudi Arabia, et al.

 

NOLAN LAW GROUP

20 North Clark Street, 30" Fleor
Chicago, IL 60602

Tel: (12) 630-4000

Fax: (312) 630-4011

Floyd Wisner, Esquire
faw@nolan-law.com

Paula Jett, Assistant
pli@nelan-law.com

Salvo, et al. v. Al Qaeda Islamic Army, et al.

 

 

OLIVER & SELLITTO, ESQS.
205 Bond Street

Asbury Park, NJ 07712

Tel: (732) 988-1500

Fax: (732) 775-7404

Anthony M. Sellitto, Jr., Esquire
asellitto.9] lsuit@aslaw.com

 

Burnett, et al. v. Al Baraka Investment and
Development Corp., et al.

 

03 MDL 1570 SERVICE LIST (6/15/2004)

~

 
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 24 of 39

PROF. ROGER ALFORD

Pepperdine University School of Law
24255 Pacific Coast Hwy

Malibu, CA 90263

Tel: (310) 506 7626

Fax: (310) 506 4063

Professor Roger Alford
roger.alford@pepperdine.edu

Estate of John P. O'Neill, Sr., et al vy. Kingdom of
Saudi Arabia, et al.

 

PRYOR CASHMAN SHERMAN & FLYNN LLP
410 Park Avenue, 10th Floor

New York, New York 10022

Tel: (212) 421-4100

Fax: (212) 326-0806

Vincent F. Pitta, Esquire
Ypitta@pryorcashman.com

Burnett, et al. v. Al Baraka Investment and
Development Corp., et al.

 

RAMEY & HAILEY

3815 River Crossing Parkway, Suite 340
Indianapolis, IN 46240

Tel (317) 848-3249

Fax: (317) 848-3259

Richard D. Hailey, Esquire
rhailey@sprynet.com

Burnett, et al. vy. Al Baraka Investment and
Development Corp., et al.
Havlish, et al. v. Bin Laden, et al.

 

RILEY DeBROTA LLP

3815 River Crossing Parkway, Suite 240
Indianapolis, IN 46240

Tel: (317) 848-7939

Fax: (317) 848-7831

Amy Ficklin DeBrota, Esquire
William Riley, Esquire

saudisurtérileydebrota.com

Burnett, et al. v. Al Baraka Investment and
Development Corp., et al.

Havlish, et al. vy. Bin Laden, et al.

 

 

RUBENSTEIN & RYNECKI
16 Court Street, Suite 1717
Brooklyn, NY 11241

Tel: (718) 522-1020

Fax: (718) 522-3804

Sanford A. Rubenstein, Esquire
Rubrynlaw@aol.com

 

Burnett, et al. vy. Al Baraka Investment and
Development Corp., et al.

 

03 MDL 1570 SERVICE LIST (6/15/2004)

 
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 25 of 39

RUSSO, SCAMARDELLA & D’AMATO, P.C.
1010 Forest Avenue

Staten Island, NY 10310

Tel: (718) 442-0900

Fax: (718) 816-8037

Guy Molinari, Esquire
euy@’statenlaw.com

John D'Amato, Esquire
_jdamato@statenlaw.com

Burnett, et al. v. Al Baraka Investment and
Development Corp., et al,

 

SACKS & SACKS LLP
150 Broadway

New York, NY 10038
Tel: (212) 964-5570
Fax: (212) 349-2141

Kenneth N. Sacks, Esquire
ken(@sacks-sacks.com

Burnett, et al. v. Al Baraka Investment and
Development Corp., et al.

 

SCHONBRLUN, DE SIMONE, SEPLOW, HARRIS &
HOFFMAN

723 Ocean Front Walk

Venice, California 90291

Tel: (310) 396-0731

Fax: (310) 399-7040

Paul L. Noffman, Esquire
Hoffpaul@aol.com

Estate of John P. O'Neill, Sr., et al v. Kingdom of
Saudi Arabia, et al.

 

 

SHULTZ & ROLLINS

1980 East Fort Lowell Road
Suite 200

Tucson, Arizona 85719

Tel: (520) 877-7777

Silas H. Shultz, Esquire
mailéshultz-rollins.com

Michael Rollins, Esquire
mike@shultz-rollins.com

 

Estate of John P. O'Neill, Sr., et al v. Kingdom of
Saudi Arabia, et al.

 

03 MDL J$70 SERVICE LIST (6/15/2004)

 
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 26 of 39

SPEISER, KRAUSE, NOLAN & GRANITO
140 East 45" Strect, 34” Floor

New York, NY 10017

Tel: (212) 661-0011

Fax: (212) 953-6483

Frank H. Granito, TTI, Esquire
(e@ny.speiserkrause.com

Kenneth P. Nolan, Esquire
kpn@ny.speiserkrause.com

Jeanne M. O’Grady, Esquire
jog@ny.spelserkrause.com

John F. Schuity, Esquire
jfs@ony.speiserkrause.com

Ashton, et al. v. Al Qaeda, et al.

 

SULLIVAN, PAPAIN, BLOCK, McGRATH &
CANNAVO, P.C.

120 Broadway Avenue, 18" Floor

New York, NY 10271

Tel: (212) 732-9000

Fax: (212) 266-4141

Michael N. Block, Esquire
mblock(@triallaw1.com

Edward Marcowitz, Esquire
emarcowitz@itriallawl.com

Andrew Carboy, Esquire
acarboy@triallaw].com

Burnett, et al. v. Al Baraka Investment and
Development Corp., et al.

 

 

PROF, MICHAEL J. BAZYLER
Whitticr Law School

3333 Harbor Blvd.

Costa Mesa, CA 92626

Tel: (310) 926-0149

Fax: (714) 444-1854

Michael J. Bazyler
bazyler(@aol.com

Estate of John P. O'Neill, Sr., et al v. Kingdom of
Saudi Arabia, et al.

 

 

03 MDL 1570 SERVICE LIST (6/15/2004)

10

 
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 27 of 39

WIGGINS, CHILDS, QUINN & PANTAZIS, PC Havlish, et al. v. Bin Laden, et al.
7 Dupont Circle, NW, Suite 200
Washington, DC 20036

Dennis G. Pantazis, Esquire
depiweqp.com

Timothy B. Fleming
tfleming@eweqp.cam

Lon B, Kisch, Esquire
lkisch@wegp.com

 

 

WINDER & HASLAM P.C. Havlish, et al. vy. Bin Laden, et al.
175 West 200 South, Suite 4000
P.O. Box 2668

Salt Lake City, UT 84111-2668
Tel: (801} 322-2222

Fax: (801) 322-2282

Donald J. Winder, Esquire
dwinder@winhas.com

 

 

11

03 MDL 1570 SERVICE LIST (6/15/2004)

 
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 28 of 39

Defendants’ Counsel dunes, 2004)

03 MDL 1570 SERVICE LIST

In ve: Terrorist Attack on September 11, 2001, 03 MD 1570 (Judge Richard Casey),
U.S. District Court for the Southern District of New York

 

Defendants’ Counsel

 

ARNOLD & PORTER LLP
555 Twelfth Street. NW
Washington, DC 20004

Tel: (202) 942-5000

Fax: (202) 942-5999

Counsel for Saudi Economic & Development Company, International Development Foundation, and Sheikh
Mohammed Salim bin Mahfouz

David Gersch, Esquire
david _persch@aporter.com

Jean E. Kalicki, Esquire
jean_kalicki@aporter.com

Brian C. Wilson, Esquire
brian _wilson@aporter.com

 

 

ARNOLD & PORTER LLP
399 Park Avenue

New York, NY 10022-4690
Tel: (212) 715-1000

Fax: (212) 715-1399

Counsel for Saudi Economic & Development Company, International Development Foundation, and Sheikh
Mohammed Salim bin Mahfouz

Craig Stewart, Esquire
craig stewart@aporter.com

 

12

03 MDL 1570 SERVICE LIST (6/15/2004)

 
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 29 of 39

BAKER BOTTS LLP

The Warner

1299 Pennsylvania Avenue, N.W,
Washington, DC 20004-2400
Tel: (202) 639-7700

Fax: (202) 639-7890)

Counsel for HRH Prince Sultan Bin Abdulaziz Al-Saud and HRH Prince Salman Bin Abdulaziz Al-Saud

Casey Cooper, Esquire

William I]. Jeffress, Jr., Esquire
Jamie Kilberg, Esquire

Sara Kropf, Esquire

MDL1570@bakerbotts.com

 

BECKER, HADEED, KELLOGG & BERRY
5501 Backlick Road, Suite 220

Springfield, VA 22151

Tel: (703) 333-3224

Fax: (703) 256-5431

Counsel for Success Foundation, Inc.; Muslim World League Offices-NY; Muslim World League-VA; and Mohamed S.
Omeish

Michael Hadeed, Jr., Esquire
mhadeed@beckerhadeed.com

 

 

BERNABEI & KATZ, PLLC
1773 T Street, NW.
Washington, DC 20009-7139
Tel: (202) 745-1942
Fax: (202) 745-2627

Counsel for Dr. Abdullah M. Al-Turki; Dr, Abdullah Naseefi Dr. Abdullah Af-Obaid; Dr. Abdul Rahman Ai Swailem;
Sheik Saleh Al-Hussayen, Sheik Shahir Batterjee; Mushavt for Trading Company; Mohammed Ali Sayed Mushayt,
Sheik Hamad Al-Husaini; Saudi Arabian Red Crescent Society, Sheik Salman Al-Oadah; Sheik Safer Al-Hawali; Al
Haramain fslamic Foundation, inc.; Soliman H.S. Al-Buflit; Soliman J Khuderia; Talal M. Badkook, Dr. Adnan
Basha: and Perouz Seda Ghat:

Lynne A. Bernabe, Esquire
LBernabei@aol.com

Alan R. Kabat, Esquire
Kabat(@bernabeiandkatz.com

 

13

03 MDL 1570 SERVICE LIST (6/15/2004)

 
Case 1:03-md-01570-GBD-SN Document 247

BONNER, KIERNAN, TREBACH AND CROCIATA
1250 Eve Street, N.W.

Washington, DC 20005

Tel: (202) 712-7000

Fax: (202) 712-7100

Counsel for Khalid Bin Mahfouz

Michael Nussbaum, Esquire
mnussbaum@bktc.net

Filed 06/16/04 Page 30 of 39

 

BRYAN CAVE LLP

1290 Avenue of the Americas
New York, NY 10104-3300
Tel: (212) 541-2000

Fax: (2120 541-4630

Counsel for Prince Naif bin Abdulaziz Al-Saud

Michael G. Bigeers, Esquire
mebiggers(@@bryancave.com

 

BRYAN CAVE, LLP

700 Thirteenth Street N.W.
Washington, DC 20005-3960
Tel: (202) 508-6000

Fax: (202) 508-6200

Counsel for Prince Naif bin Abdulaziz Al-Saucd

James M. Cole, Esquire
jJmcole@bryancave.com

James }. Murphy, Esquire
jjmurphy@bryancave.com

 

 

BUSCH & NUBANI, P.C.
5029 Backlick Road, Suite A
Annandale, VA 22003

Tel: (703) 658-5151

Fax: (703) 658-9200

Counsel for Al Haramain Islamic Foundation, Ageel Al-Ageel, Saleh O. Badahdah, Adballah bin Adbul Aziz Almostieh,
Abdullahi M. Al-Mahdi, Adel A.J. Baiterjee, Jamal Ahmad Mostafa Khatifa, Islamic Assembly of North America; and

Sulaiman Al-Ali

Ashraf W, Nubani, Esquire
anubani(rbanlaw.com

 

14

03 MDL 1570 SERVICE LIST (6/15/2004)

 
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 31 of 39

CHADBOURNE & PARKE LLP
30 Rockefeller Plaza

New York, NY 10112

Tel: (212) 408-5581

Fax: (646) 710-5581

Counsel for Yousef Jameel
Kenneth A. Caruso, Esquire
Marvin R. Lange, Esquire

Jeffrey I. Wasserman, Esquire

+MDL1870@chadbourne.com

 

CURTIS, MALLET-PREVOST, COLT & MOSLE LLP
101 Park Avenue

New York, NY 10178

Tel: (212) 696-6000

Fax: (212) 697-1559

Counsel for HRA Prince Abdullah Al Faisal Bin Abdulaziz Al Saud, Affaisaliah Group, Faisal Group Holding Co., and
Mohammed Bin Abdulrahman Al Ariefy

T. Barry Kingham, Esquire
bkingham@cm-p.com

Daria M. Ciaputa, Esquire
dciaputa@em-p.com

Jesse Clarke, Esquire
jclarke@cm-p.com

 

FULBRIGHT & JAWORSKI, LLP
801 Pennsylvania Avenue, N.W.
Washington, DC 20004

Tel: (202) 662-4659

Fax: (202) 662-4643

Counsel for Nimir Petroleum, LLC

Matthew H. Kirtland, Esquire
mkirtland@fulbright.com

 

 

GIBSON, DUNN & CRUTCHER LLP
1050 Connecticut Avenue, N.W.
Washington, DC 20036

Tel: (202) 955-8213

Fax; (202) 530-9566

Counsel for Salamiddin Abduliawad

John C. Millian, Esquire
jmilliancégibsendunn.com |

 

03 MDL 1570 SERVICE LIST (6/15/2004)

 
Case 1:03-md-01570-GBD-SN Document 247

GILLEN PARKER & WITHERS LLC
One Securities Centre, Suite 1050

3490 Piedmont Road, NE

Atlanta, GA 30305-1743

Tel: (404) 842-9700

Fax: (404) 842-9750

Counsel for Mar-Jac Poultry, Inc.

Wilmer Parker, I, Esquire
bparker@gcpwlaw.com

Filed 06/16/04 Page 32 of 39

 

GORDON & SIMMONS, LLC
131 West Patrick Street

P.O. Box 430

Frederick, MD 21705-0430
Tel: (301) 662-9122

Fax: (301) 698-0392

Counsel for Zahir H. Kazmi
Roger C, Simmons, Esquire

Victor E. Cretella, ITT, Esquire
officemail@gordonsimmons.com

 

 

GRAY CARY WARE & FREIDENRICH LLP
1625 Massachusetts Avenue, N.W., Suite 300
Washington, DC 20036

Tel: (202) 238-7700

Fax: (202) 238-7701

Counsel for African Muslim Agency; Heritage Education Trust; International Institute of Islamic Thought, Mar-Jac
Investments, Inc., Reston Divestments, Inc.; Safa Trust; York Foundation; Taha Al-Alwani, Muhammad Ashraf, M.
Omar Ashraf; M. Yaqub Mirza; fqgbal Unus; Jamal Barzinyi, Sterling Management Group; Sterling Charitable Gift

Fund inc., Mena Corporation, Greve Carporate, fac., and Sana-Bell, Inc.

Nancy Luque, Esquire
niuque@graycary.com

Donna Sheinbach, Esquire
dsheinbach@@praycary.com

 

16

63 MDL 1570 SERVICE LIST (6/15/2004)

 
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 33 of 39

HANANIA & KHADER
6066 Leesburg Pike, Suite 101
Falls Church, VA 22041

Tel: 703-778-2400

Fax: 703-778-2407

Counsel for Abdul Rahman AL-Almoudi, Tarik Hamdi; World Assembly of Muslim Youth, Mohammed Hussein Al
Almoudi; and Taibah international Aid Association

Maher Hanania, Esquire
Mhanania@hknlaw.com

Angela Hensley
Ahensley@hknlaw.com

 

JONES DAY

51 Louisiana Avenue, N.W.
Washington, DC 20001
Tel: (202) 879-3939

Fax: (202) 626-1700

Counsel for Saudi Binladin Group, inc.; Bakr M. Bin Laden; Omar Bin Laden; Tarek M. Bin Laden; and Khalid Bin
Mahfouz

Stephen J. Brogan, Esquire
Timothy J. Finn, Esquire
James E. Gauch, Esquire
Michael P. Gurdak, Esquire
Jonathan C. Rose, Esquire
Michael Shumaker, Esquire
Jennifer Shumaker, Esquire
Melissa Stear, Esquire

JonesDayMDL1570@jonesday.com
dincCaftrey@jonesday.com

 

 

JONES DAY

222 East 41" Street

New York, NY 10017-6702
Tel: (212) 326-3939

Fax: (212} 755-7306

Counsel for Saudi Binladin Group, Ine.; Bakr M. Bin Laden; Omar Bin Laden; Tarek M. Bin Laden; and Khalid Bin
Mahfouz

FE. Michael Bradley, Esquire
Geoffrey S, Stewart, Esquire

JonesDayMDL1570@jonesday.com
dmeCaffrey@jonesday.com

03 MDL 1570 SERVICE LIST (6/15/2004)

 
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 34 of 39

JOSHUA L. DRATEL, P.C.
14 Wall Street, 28"" Floor
New York, NY 10005

Tel: (212) 732-0707

Fax: (212) 571-6341

Counsel for Sami Omar Al-Hussayven

Joshua L. Dratel, Esquire
jdrateli@joshuadratel.com

Marshall A. Mintz, Esquire
mmintz(¢j oshuadratel.com

 

KELLOGG, HUBER, HANSEN, TODD & EVANS, P.L.L.C.
1615 M Street, N.W., Suite 400

Summer Square

Washington, DC 20036-3209

Tel: (202) 326-7900

Fax: (202) 326-7999

Counsel for Prince Turki Al-Fatsal Bin Abdulaziz Al-Saud, Prince Bandar bin Sultan bin Abdulaziz, Princess Haifa Al
Faisal, and The Kingdom of Saudi Arabia

David C. Frederick, Esquire
Michae] J. Guzman, Esquire
Mark C. Hansen, Esquire
Michael K. Kellogg, Esquire
J.C, Rozendaal, Esquire

KelloggMDL1570¢ékhhte.com
Meuzman(@khhte.com

 

 

KING & SPALDING LLP
1185 Avenue of the Americas
New York, NY 10036

Tel: (212) 556-2100

Fax: (212) 556-2222

Counsel for Arab Bank PLC

Richard T. Marooney, Esquire
rmarooneykslaw.com

Jeanette M. Viggiano, Esquire
jviggiano@kslaw.com

 

18

03 MDL 1570 SERVICE LIST (6/15/2004)

 
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 35 of 39

LAW FIRM OF OMAR T. MOHAMMEDI
200 Madison Avenue, Suite 1901

New York, NY 10016-3903

Tel: 212-752-3846

Fax; 212-725-9160

Counsel for World Assembly of Muslim Youth; WAMY International

Omar T. Mohammedi, Esquire
omohammedi@otmlaw.com

 

LAW FIRM OF OMAR T. MOHAMMEDI
2201 NE 52™ Street, Suite 205

Lighthouse Point, FL 33064

Tel: 954-428-7757

Counsel for World Assembly of Muslim Youth; WAMY International

Khurrum Wahid, Esquire
Khurrum. Wahid@verizon.net

 

MARTIN F. McMAHON & ASSOCIATES
1156 Connecticut Avenue, N.W., Suite 900
Washington, DC 20036

Tel: (202) 862-4343

Fax: (202) 828-4130

Counsel for Saleh Abduilah Kamei; Al Baraka Investment & Development Corp., international Islamic Relief
Organization: Rabita Trust: Dallah Al Baraka Group, LLC; Makkah Mukarrahman Charity Trust; and Wael Jalaidan

Martin F. McMahon, Esquire
Christopher Smith, Esquire
Stephanie Wall Fell

lawmfm@aol.com

 

 

McDERMOTT WILL & EMERY LLP
600 13" Street, N.W.

Washington, DC 20005-3096

Tel: (2025 756-8000

Fax: (202) 756-8087

Counsel for Yassin Abdullah Al Kadi

Thomas P, Steindler, Esquire
Stanton D, Anderson, Esquire

MDILNo1570Group@mwe.com

 

19

03 MDL 1570 SERVICE LIST (6/15/2004)

 
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 36 of 39

PATTON BOGGS LLP
2550 M Street, N.W.
Washington, DC 20037
Tel: (202) 457-6000
Fax: (202) 457-6315

Coutsel for National Commercial Bank

Ronald 8. Liebman, Esquire
rhebman@)pattonboggs.com

Mitchell Berger, Esquire
mberger@pattonbogys.com

 

ROBBINS, RUSSELL, ENGLERT, ORSECK & UNTEREINER LLP
1801 K Street, NW, Suite 411

Washington, DC 20006

Tel: (202) 775-4500

Fax: (202) 775-4510

Counsel for Saudi High Commission

Lawrence 5S. Robbins, Esquire
lrobbins(@robbinsrussell.com

Roy T. Englert, Jr., Esquire
renglert@robbinsrussell.com

Max Huffman, Esquire
mhuffman@robbinsrussell.com

 

SHEARMAN & STERLING LLP
599 Lexington Avenue

New York, NY 10022-6069

Tel: (212) 848-4000

Fax: (212) 848-7179

Counsel for Saudi American Bank
Brian H. Polovoy, Esquire

Daniel M. Segal, Esquire

Henry Weisburg, Esquire

MDL1570@dshearman.com

 

 

HUSSEIN SHOUKRY LAW FIRM
Adham Commercial Center, 9" Floor
Medina Road

PO Box 667

Jeddah 71421, Saudi Arabia

Counsel for HRH Prince Mohamed al Faisal al Saud

Kamal Hussein Shoukry

 

20

03 MDI 1570 SERVICE LIST (6/15/2004)

 
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 37 of 39

STEPTOE & JOHNSON L.L.P.
1330 Connecticut Avenue, N.W.
Washington, DC 20036

Tel: (202) 429-3000

Fax: (202) 429-3902

Counsel for Mohammad Bin Abdullah Aljomaih

Christopher T. Lutz, Esquire
clutz@steptoe.com

 

UNITED STATES ATTORNEY’S OFFICE
86 Chambers Street, Third Floor

New York, NY 10007

Tel: (212) 637-2709

Fax: (212) 637-2717

Sarah S. Normand
Assistant U.S, Attorney
sarah.normand@usdoj.gov

 

UNITED STATES DEPARTMENT OF JUSTICE
Civil Division, Federal Programs Branch

P.O, Box 883

Washington, DC 20044

Tel: (202) 514-3367

Fax: (202) 616-8470

Elizabeth J. Shapiro, Esquire
Elizabeth. Shapiro@usdoaj.gov

 

 

WHITE & CASE LLP

601 Thirteenth Street, N.W.
Washington, DC 20005-3807
Tel: (202) 626-3600

Fax: (202) 639-9355

Counsel for Al Rajhi Banking & Investment Corporation

Christopher M. Curran, Esquire
Nicole E. Erb, Esquire

AlRajhiBankMDL15$70@whitecase.com.

 

21

03 MDL 1870 SERVICE LIST (6/15/2004)

 
Case 1:03-md-01570-GBD-SN Document 247 Filed 06/16/04 Page 38 of 39

WHITE & CASE LLP

1155 Avenue of the Americas
New York, NY 10036-2787
Tel; (212) 819-8200

Fax: (242) 354-8113

Counsel for DM] Administrative Services, S.A.

‘Lim McCarthy, Esquire
tmecarthy@)whitecase.com

James J. McGuire, Esquire
jmeguire@ewhitecase.com

 

WILLIAMS & CONNOLLY LLP
725 12" Street, N.W.

Washington, DC 20005

Tel: (202)434-5000

Fax: (202) 434-5245

Counsel for Abdul Rahman Bin Kahlid Bin Mafouz

Gerald A, Feffer, Esquire
gfeffer@we.com

Peter J. Kahn, Esquire
pkahni@we.com

Thomas C. Viles, Esquire
tviles@we.com

 

WILMER CUTLER PICKERING HALE AND DORR LLP
1600 Tysons Boulevard, 10° Floor

McLean, VA 22102

Tel: (703) 251-9700

Fax: (202) 663-6363

Counsel for HRH Prince Mohamed Al Faisal Al Saud

David P. Donovan, Esquire
| david. donovan@wilmerhale.com

 

03 MDL 1570 SERVICE LIST (6/15/2004)

 
Case 1:03-md-01570-GBD-SN Document 247

WILMER CUTLER PICKERING HALE AND DORR LLP
2445 M Street, N.W,

Washington, DC 20037

Tel: (202) 663-6000

Fax: (202) 663-6363

Counsel for HRH Prince Mohamed Al Faisal Al Saud

Louis R. Cohen, Esquire
louis.cohen@ewilmerhale.com

Shirley Woodward, Esquire
shirley. woodward@wilmerhale.com

Filed 06/16/04

Page 39 of 39

 

 

WILMER CUTLER PICKERING HALE AND DORR LLP
399 Park Avenue

New York, NY 10022

Tel: (212) 230-8800

Fax: (202) 663-6363

Counsel for HRH Prince Mohamed Al Faisal Al Saud

Matthew Previn, Esquire
matthew. previn@wilmerhale,com

 

23

03 MDL 1570 SERVICE LIST (6/15/2004)

 
